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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


 ELIZABETH META FREDERICK,
                                              Case No. 4:19-cv-162-MW-MAF
        Plaintiff,

 v.

 MISTY ROBERTSON,

        Defendant.


                           PLAINTIFF’S TRIAL BRIEF

       Pursuant to the Court’s Amended Order for Pretrial Conference (Doc. 129 at

4), Plaintiff Elizabeth Frederick, through her undersigned counsel, files this trial

brief to provide authorities and arguments in support of her position on all disputed

issues of law pertaining to her remaining Fourteenth Amendment deliberate

indifference claim against Defendant Misty Robertson.

I.     INTRODUCTION AND BACKGROUND

       At issue in this trial is whether Defendant Misty Robertson—who, at all times

material, was the mental health director for the Leon County Jail through its contract

with her employer Corizon—denied Plaintiff’s daughter, Casey Norred, her

constitutional right to adequate care by deliberately disregarding the immediate and

serious threat to her mental health and well-being.
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      Casey was a young woman with a history of mental illness. She had a

significant period of great success managing her mental health conditions and needs

with a treatment team. At some point, however, she was taken off her medication,

and then while unmedicated and incapable of competently making decisions about

her own care, Casey decided that she would not take her medication anymore.

Without her medication, Casey suffered mental health episodes and complications,

and she ultimately was charged with a crime in Leon County stemming from one of

her delusions.

      Once detained at the Leon County Jail, Casey continued to refuse medication.

That is not to say that she necessarily refused kindness or empathy or consideration.

However, she was placed in segregation with violent detainees apparently because

something in her history included the word “aggravated,” which staff took to mean

“violent.” (Doc. 79-10, 78-1 at 7, 9). In actuality, that language meant nothing more

than “persistent.” Certain jail staff tried to promote the idea that Casey should be

considered a “special needs” inmate, with its own protections. But that idea was

voted down. Per an administrative memorandum from Ericka Walker—Casey’s

Classification Officer—“According to the Mental Health Professionals, she does not

qualify for special needs.” (Doc. 91-7). Defendant Robertson testified these

discussions were regular for detainees in confinement or who had mental health




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issues, but she was not professionally concerned that a mental-health patient like

Casey was kept in confinement. (Doc. 79-14 at 57:17–58:25).

      Ultimately, Casey was deemed not competent to stand trial for her underlying

criminal charge and she was slated for transfer to Florida State Hospital for the

purpose of restoring her to competency. Shortly before transfer, Casey attempted to

kill herself by hanging. She looped part of her pants through openings in her upper

bunk and created a ligature through which she thrust her head, cutting off her air

supply. She was discovered by jail staff while she could still be revived. At that

point, Defendant Robertson was placed on notice that Casey urgently and

objectively needed emergency psychiatric care. However, Robertson did not contact

the on-call psychiatrist or seek to move Casey to an inpatient psychiatric program

where she could get the care she so badly needed. (Id. at 36:6-10). Instead, a jail

lieutenant placed Casey in a restraint chair. Although Robertson could have

authorized Casey’s release that Friday, she decided to leave her in the restraint chair

overnight until she would agree to “communicate.” (Doc. 91-15 and Video C at

14:02:18). Casey was in the restraint chair for 24 hours.

      The next day, Casey was placed in direct observation. Apparently, two jail

logs are maintained for persons in direct observation—a medical log and an inmate

event log. The medical log includes details like “sleeping” or “stretching” or

“yelling” but nothing substantive, like, for instance, what Casey was yelling about—


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instead, those notes are memorialized only on the inmate event log. Early on the

second day, while in direct observation, the inmate event log indicated that Casey

was asking to see a doctor and then later, asking jail staff to kill her: “shoot me in

the head,” “I’m a fucking ant.” (Doc. 79-10 at 1).

      Despite containing the substance of Casey’s communications, which clearly

had relevance to modes of treatment, Robertson did not review the inmate event log.

Instead, she briefly spoke to Casey (no more than 10 minutes) and accepted a

cursory statement from her that the reason she tried to kill herself was that she had

just received some bad news. Robertson did not take the opportunity to find out

more—to ask what the bad news was and whether it had been resolved. No, after

failing to review the logs and performing a perfunctory interview with Casey,

Robertson handed Casey her clothing—the same kind of clothing she had just used

to try to hang herself—and sent her back to her cell—the same cell that where she

was able to use the bunk bed to hang herself. She sent her there without any special

precautions and no requirement that she be checked on frequently.

      Within 35 minutes of being taken back to her cell, on her release from

observation by Robertson, Casey was found hanging from a ligature she had tied

using her pants. (Doc. 79-11 at 2). Because there was no suicide plan, jail staff did

not know what to do when they found her. (Id.). For a substantial period, someone




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tried to hold her up in a bear hug while someone else fumbled with the knot. (Id.).

Casey did not survive her second suicide attempt.

II.    DISPUTED ISSUES OF LAW

       The sole disputed issue of law for trial is whether Robertson’s conduct

constitutes deliberate indifference to Casey’s Fourteenth Amendment right to timely

and adequate mental health care as a pretrial detainee at the Leon County Jail. Mann

v. Taser Int’l, Inc., 588 F.3d 1291, 1306 (11th Cir. 2009) (explaining that a pre-trial

detainee’s “rights exist under the due process clause of the Fourteenth Amendment”

but “are subject to the same scrutiny as if they had been brought as deliberate

indifference claims under the Eighth Amendment”); Goebert v. Lee Cnty., 510 F.3d

1312, 1326 (11th Cir. 2007). That right includes the right to be free from self-

inflicted injuries, including suicide. See Cook ex Rel. Tessier v. Sheriff Monroe Cnty,

402 F.3d 1092, 1115 (11th Cir. 2005).

       Plaintiff, as the personal representative of Casey’s estate and on behalf of her

statutory survivors, sued Robertson under section 1983 for her deliberate

indifference to Casey’s known risk of suicide under the Fourteenth Amendment. To

establish liability for a detainee’s suicide under section 1983, the “plaintiff must

prove that the official had subjective knowledge of a risk of serious harm and

disregarded that risk by conduct that constituted more than mere negligence.” Gish

v. Thomas, 516 F.3d 952, 954 (11th Cir. 2008) (citation omitted). The law requires


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that the defendant “deliberately disregard[ed] a strong likelihood rather than a mere

possibility that the self-infliction of harm will occur.” Cook, 402 F.3d at 1115

(emphasis deleted). The defendant must also be subjectively aware that “the

combination of the [detainee’s] suicidal tendencies and the feasibility of suicide in

the context of the [detainee’s] surroundings [will] create[] a strong likelihood that

the [detainee] will commit suicide.” Gish, 516 F.3d at 954–55 (emphasis deleted).

The mere “opportunity” to commit suicide is not enough. Tittle v. Jefferson County

Comm’n, 10 F.3d 1535, 1539 (11th Cir. 1994) (en banc).

      A. Robertson had actual subjective knowledge of Casey’s risk of serious
         harm.

      In assessing the first prong of the deliberate indifference test, the question is

whether Robertson had a “personal, subjective knowledge of a suicide risk.” Jackson

v. West, 787 F.3d 1345, 1356–57 n.6 (11th Cir. 2015). Robertson clearly had such

subjective knowledge because Casey was in her care immediately following a

suicide attempt and had knowledge of previous suicidal tendencies and Casey’s

mental health history. Cf. Cagle v. Southerland, 334 F.3d 980, 989 (11th Cir. 2003)

(quoting Popham v. City of Talladega, 908 F.2d 1561, 1564 (11th Cir. 1990)

(“Absent knowledge of a detainee’s suicidal tendencies . . . [the] failure to prevent

suicide has never been held to constitute deliberate indifference.”); see also (Doc.

95-1 at 7-8 (Corizon’s Suicide Prevention Manual)) (noting that prior risk of suicide

was a strong indicator of future risk).

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      B. Robertson disregarded that risk by conduct that is more than
         negligence.

      As for the second and third prongs (disregard of substantial risk; conduct

more than negligence), Robertson’s acts and omissions concerning Casey’s strong

likelihood of committing suicide constitute deliberate indifference for the following

reasons.

             1. Robertson failed to properly initiate mental health treatment.

      Defendant Robertson was the mental health director at the Leon County Jail,

but she was not a psychiatrist, and she had no license or ability to prescribe

medication. (Doc. 79-14 at 36:6-10). When Casey presented after an unsuccessful

suicide and with a history of mental illness, Robertson chose not to call the on-call

psychiatrist to evaluate her. No, with minimal training and a high workload,

Robertson took it upon herself to play physician at the cost of Casey’s life. (Doc. 91-

8 at 19, 24). Her idea of care was permitting Casey to suffer in restraints for 24

hours—calling it both a “security tool” and “mental health treatment . . . if someone

is actively trying to harm themselves and you cannot get them to de-escalate their

behaviors by any least-restrictive measure.” (Doc. 79-14 at 46–47). Rather than

seeking immediate medical attention, from afar (as Robertson was not initially

present at the jail) she decided to leave Casey in the restraint chair overnight until

she would agree to “communicate”—effectively punishing her rather than

attempting intervention. (Doc. 91-15 and Video C at 14:02:18). By taking matters

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into her own hands and not permitting Casey to see a psychiatrist—including upon

her release from direct observation (see Doc. 91-8 at 19)—Robertson grossly

disregarded Casey’s substantial risk of suicide. See Dolihite v. Maughon, 74 F.3d

1027 (11th Cir. 1996); (see also Doc. 112 at 24) (analogizing the facts of this case to

Dolihite, where the provider removed a juvenile from observation without

contacting the on-call psychiatrist).

             2. Robertson was deliberately indifferent in determining Casey
                could return to her cell.

      Robertson disregarded Casey’s strong likelihood of suicide risk in connection

with her release from direct observation. She failed to review the inmate logs,1

deviated from Corizon policy by relying on Casey’s “self-report,” took fewer than

10 minutes to interview Casey, and let her return to her cell with clothing that could

be used in a subsequent suicide attempt.

      As noted above, there were two logs used by jail staff once Casey was

removed from restraints and placed in direct observation. One log included surface-

level information—date, time, appearance, state (resting, sleeping, yelling,

screaming, etc.); the other log included communications from Casey. That log—the



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  As she pointed out in her Motion for Summary Judgment, Robertson “worked in the jail
in various capacities for 14 years,” (Doc. 83 at 4) and would have known of the Inmate
Event Logs, but she neither reviewed those logs nor required the medical logs to
document Casey’s actual statements rather than simply that she was “yelling and
screaming,” or sleeping or in some other general state.

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inmate event log—captured some of Casey’s final words revealing her then-existing

mental state. Like “shoot me in the head,” “I’m a fucking ant.” (Doc. 79-10 at 1).

But Robertson did not review the inmate event log or inquire with any staff

concerning its substance.

      Instead, Robertson relied solely on a brief final encounter with Casey, lasting

a mere few minutes and relying primarily on Casey’s “self-report” of her mental

state and suicidal ideations. “Self-reports” are unreliable. (Doc. 91-8 at 18). And

they violate Corizon’s Suicide Prevention Manual, which cautions providers not to

rely exclusively on patient direct statements. (Doc. 95-1 at 151). The Corizon

Suicide Prevention Manual also states that “[a]ssessment includes a longitudinal

review of the risk factors, not only relying on what the inmate says.” (Id. at 123).

      Upon concluding that brief encounter, in which Robertson relied primarily

upon Casey’s direct statement, Robertson permitted Casey to return to her cell with

the same clothes she used to try to kill herself days earlier. When Robertson

completed the brief encounter, however, she noted in a mental health risk

assessment tool that there were no concerning observations. But she also wrote that

Casey was “not stable.” (Doc. 91-4, LCJ Medical Records at 6). It is possible that

the jury could infer based on these observations that Robertson realized she was

providing grossly inadequate care when releasing Casey after finding her “not

stable.” Campbell v. Sikes, 169 F.3d 1353, 1365 (11th Cir. 1999).


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      Robertson’s gross conduct and disregard for Casey’s actual and foreseeable

risk of suicide is analogous to Steele v. Shah, 87 F.3d 1266 (11th Cir. 1996) and

Greason v. Kemp, 891 F.2d 829, 835 (11th Cir. 1990). In those cases, the Eleventh

Circuit concluded that there was sufficient circumstantial (and direct, though not

necessary) evidence without any expert testimony to establish subjective mental

intent for the purposes of proving grossly inadequate care regarding a known risk of

suicide. In Steele, the doctor stopped his medication in prison after a “less than one

minute” meeting and without reviewing Steele’s medical records. In Greason, the

treating doctor saw him for a few minutes, promptly concluded that Greason’s

condition had stabilized, and discontinued Greason’s medications without reviewing

the clinical file or assessing Greason’s mental status to determine his potential for

suicide. The letters in the clinical file showed Greason was a schizophrenic, had

suicidal tendencies, and needed medication.

      Again, here, Robertson only showed up to see Casey for a brief encounter, at

the end of which she decided to release her—with the very tools and conditions in

which she made her first attempt—without contacting the doctor and without fully

reviewing the medical records and logs to determine Casey’s true state of mind. The

same year Casey killed herself, Robertson was praised by Corizon in performance

review for her ability to “maintain a large quantity of work load [sic].” Robertson

had too many other matters to focus on Casey and prevent her suicide. The evidence


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will show and a jury will likely find that she was deliberately indifferent in these

respects.

             3. Robertson’s failure to ensure a meaningful suicide plan or
                adequate post-release observation constituted gross conduct.

      Robertson’s failure to institute a suicide plan, hanging rescue plan or similar

process, or step-down program upon Casey’s release from direct observation

constituted deliberate indifference. The National Commission on Correctional

Health Care (NCCHC) suicide prevention program, MH-G-04, provides that acutely

suicidal inmates are to be placed on constant observation. (Doc. 91-11 at 2, NCCHC,

Standard MH-G-04 at 2). Non-acutely suicidal inmates2 are required to be monitored

on an unpredictable schedule with no more than fifteen minutes between checks.

Robertson did not provide any plan for Casey’s release, let alone one that complied

with the NCCHC guidelines. Without a plan, step-down process, or frequent checks,

within approximately 30 or 40 minutes of being returned to her cell, Casey killed

herself. Robertson’s failure to take any steps to mitigate the risk of foreseeable

suicide upon release from observation constitutes deliberate indifference. See, e.g.,



2
  The NCCHC suicide prevention program describes non-acutely suicidal inmates as:
“[T]hose who express current suicidal ideation…and/or have a recent prior history of
self-destructive behavior. In addition, inmates who deny suicidal ideation or do not
threaten suicide but demonstrate other concerning behavior (through actions, current
circumstances, or recent history) including the potential for self-injury should be placed
on suicide precautions and observed at staggered intervals not to exceed every 15 minutes
(e.g., 5, 10, 7 minutes).” (Id. at 3).

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Allen v. Freeman, CV 110-022, 2013 WL 3356040 (S.D. Ga. July 2, 2013) (citing

Mombourquette ex Rel. Mombourquette v. Amundson, 469 F. Supp. 2d 624 (W.D.

Wis. 2007) (for the proposition that failing to place a prisoner on suicide watch or

ordering frequent cell checks after suicide attempt was deliberate indifference).

      III.   CONCLUSION

      For the foregoing reasons, and for the reasons alleged in the operative

complaint, Plaintiff is entitled to judgment against Defendant Misty Robertson to

the full measure of damages sought in her complaint.

      Further, given that Robertson discharged this claim in bankruptcy precluding

in personam recovery against her, Plaintiff will also promptly move to include

Corizon3 and its insurers on the final judgment against Robertson.

Dated: September 9, 2022.

              Respectfully Submitted, s/ James V. Cook
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 As will be briefed, the underlying Lone Star policy names Robertson as an insured.
Pursuant to an endorsement, Robertson is not required to pay out any damages under the
non-physician self-retention. Instead, Valitas, as the first named insured, assumed that
obligation. Corizon, however, separately agreed with Lone Star to administer and pay all
claims of damages—including for claims made against Robertson for which Valitas
would be liable—until Corizon reaches a self-insurance retention aggregate amount, after
exhausting which Lone Star would remain liable for damages in this case.

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                                                -and-

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                               Certificate of Service

      I hereby certify that on September 9, 2022, I electronically filed the

foregoing document with the Clerk by using the CM/ECF system, which will serve

a copy on all counsel of record.

                                              By: s/ James V. Cook
                                                     James V. Cook




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